67 F.3d 295
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gregory H. JONES, Plaintiff-Appellant,v.Sergeant BENNETT;  Guard Crudup;  Guard Lawrence;  CaptainFogg;  Ken Harris;  R.R. Finch, Mr.;  Deputy Warden French;W.E. McMichael, Jr.;  J.R. Moody, Lieutenant;  NorthCarolina Prisoner Legal Services, Incorporated, Defendants-Appellees.
    No. 95-6549.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 24, 1995.Decided:  Sept. 13, 1995.
    
      Gregory H. Jones, Appellant Pro Se.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case when Appellant failed to comply with the fee order.  As the assessment procedure followed by the district court comported with the system approved in Evans, we grant leave to proceed in forma pauperis and affirm the dismissal.  Pursuant to 28 U.S.C. Sec. 2106 (1988), however, we modify the district court's order to show that the complaint is dismissed without prejudice.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED AS MODIFIED
    